Case 2:21-cv-03279-CDJ Document 1-1 Filed 07/22/21 Page 1 of 6




                  EXHIBIT A
Case 2:21-cv-03279-CDJ Document 1-1 Filed 07/22/21 Page 2 of 6
Case 2:21-cv-03279-CDJ Document 1-1 Filed 07/22/21 Page 3 of 6
Case 2:21-cv-03279-CDJ Document 1-1 Filed 07/22/21 Page 4 of 6
Case 2:21-cv-03279-CDJ Document 1-1 Filed 07/22/21 Page 5 of 6




                   EXHIBIT B




                              2
Case 2:21-cv-03279-CDJ Document 1-1 Filed 07/22/21 Page 6 of 6
